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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION




 UNITED STATES OF AMERICA,
                                                   CR 18--4-BU-DLC
                      Plaintiff,

        vs.                                         ORDER

 STEVEN FRANCIS REYCHLER and
 JENNIFER LYNN MARSHALL,

                      Defendant.

      Before the Court is the United States' Motion for Preliminary Order of

Forfeiture (Doc. 101). Defendant Jennifer Lynn Marshall appeared before the

Court on August 2, 2018, and entered a plea of guilty to Count I and Count V of

the Indictment. She also admitted the forfeiture allegation. Defendant Steven

Frances Reychler appeared before the Court on August 16, 2018, and entered a

plea of guilty to Count I and Count V of the Indictment. He also admitted the

forfeiture allegation. The defendants' pleas provide a factual basis and cause to

issue an Order of Forfeiture, pursuant to 18 U.S.C. § 924(d) and 21 U.S.C. § 853.

      Accordingly, IT IS ORDERED:

      THAT defendants' interest in the following property is forfeited to the

United States in accordance with 18 U.S.C. § 924(d) and 21 U.S.C. § 853.


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Ruger .380 automatic pistol with laser sight (serial number 371318272); and any

other firearms and ammunition involved in said offense.

      THAT the United States Marshals Service and the Federal Bureau of

Investigation are directed to seize the property subject to forfeiture and further to

make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court's Preliminary Order

and the United States' intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 924(d) and 21 U.S.C. §

853(n)(l), and to make its return to this Court that such action has been completed;

and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of Forfeiture.




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DATED this z..'l#eay of August, 2018.




                                    Dana L. Christensen, Chief Judge
                                    United States District Court




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